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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Alexandria Division




    Sony Music Entertainment,et al.

                          Plaintiffs,

            V.                                                Civil Action No. l:18-cv-00950
                                                              Hon. Liam O'Grady
    Cox Communications,Inc., et al.

                           Defendants.




                                             ORDER


        This matter comes before the Court on the parties' post-trial briefs pursuant to the Court's

 Jtme 2, 2020 Order. Dkt. 707. In that Order, the Court permitted Defendant Cox to submit post-

 trial briefing supporting its contention that the damage award by the jury was improper because

 certain works at issue were derivative of others; the Court also allowed Cox to submit its

 calculation of appropriate statutory damages based on the number of unique works in the case.

 Dkt. 707 at 52. The Court permitted Plaintiffs to produce evidence to rebut Cox's assertions. Id.

 The Court also permitted the parties to submit argument concerning whether the works withdrawn

 from another of Plaintiffs' cases, Warner Records, Inc. et al v. Charter Communications, Inc.(No.

 l:19-cv-00874-RJB-MEH (D. Colo.), ECF No. 100, should be included in the determination of

 damages. Id. Defendants have submitted their post-trial brief (Dkt. 711), and Plaintiffs have

 submitted their response (Dkt. 718).

                                        I.   BACKGROUND


        Members of the music industry, including record companies and publishers, filed this
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